                 Case 2:14-cv-01203-RAJ Document 17 Filed 08/06/14 Page 1 of 2




 1                                                               HONORABLE ROBERT S. LASNIK

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 7                          UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF WASHINGTON AT SEATTLE
 8
     UNITED STATES OF AMERICA                            NO. MC 14-0039 RSL
 9
                                    Plaintiff            AFFIDAVIT OF DAVID L. TUTTLE IN
10          v.                                           SUPPORT OF CORRECTED MOTION TO
                                                         QUASH WRIT OF GARNISHMENT AND
11   MARK F. SPANGLER and SPANGLER                       DISMISS WITH PREJUDICE
     FINANCIAL GROUP, INC. RETIREMENT
12   PLAN

13                                  Defendants

14          and

15   KLJ CONSULTING, LLC, Kent L. Johnson
     KLJ Consulting LLC’s Managing Director,
16   General Receiver of THE SPANGLER
     GROUP, INC.,
17                              Garnishee

18          David L. Tuttle, sworn on oath, declares as follows:

19          1.       I represent the Spangler Financial Group, Inc., Retirement Plan as an attorney in

20   the current action.

21          2.       Attached hereto as Exhibit A is a true and accurate copy of the Order Upon

22   Omnibus Motion to Allocated Assets and Expanses, Determine Claim and Interests, Authorize


                                                                                    Law Offices of
     AFFIDAVIT OF DAVID TUTTLE IN SUPPORT OF                                     Mary L. Stoll
     CORRECTED MOTION TO QUASH WRIT                                        A Professional Limited Liability Company
                                                                          2033 Sixth Avenue — Suite 993
     AND DISMISS W/PREJ—1                                                    Seattle, WA 98121-2527
                                                                             Telephone 206-623-2855
     Case No. MC 14-0039 RSL                                                    Fax 206-667-9805
                  Case 2:14-cv-01203-RAJ Document 17 Filed 08/06/14 Page 2 of 2




 1   Distribution and Extend Stay that was entered by the King County Superior Court on October 30,

 2   2012.

 3           3.       Attached hereto as Exhibit B are true and accurate copies of the relevant sections

 4   of the Spangler Financial Group, Inc., Retirement Plan.

 5           DATED August 6, 2014

 6

 7                                               s/ David L. Tuttle
                                                 David L. Tuttle, WSBA No. 38728
 8                                               Law Offices of Mary L. Stoll, PLLC
                                                 2033 Sixth Avenue — Suite 993
 9                                               Seattle WA 98121-2527
                                                 Telephone 206-623-2855
10                                               Fax 206-667-9805
                                                 Email davidt@mlstoll-law.com
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                                                                                     Law Offices of
     AFFIDAVIT OF DAVID TUTTLE IN SUPPORT OF                                      Mary L. Stoll
     CORRECTED MOTION TO QUASH WRIT                                         A Professional Limited Liability Company
                                                                           2033 Sixth Avenue — Suite 993
     AND DISMISS W/PREJ—2                                                     Seattle, WA 98121-2527
                                                                              Telephone 206-623-2855
     Case No. MC 14-0039 RSL                                                     Fax 206-667-9805
